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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF MINNESOTA

United States of America,                             Criminal No. 07-439(8) (JNE / SRN)

                        Plaintiff,
                                                      REPORT & RECOMMENDATION
       v.

Tobias Tydes Davenport,

                        Defendant.


        Leshia Lee-Dixon, Assistant U.S. Attorney, 600 U.S. Courthouse, 300 South Fourth
Street, Minneapolis, MN 55415, for U.S.A.

       Steven Wolter, Kelley & Wolter, P.A., Centre Village Offices, Suite 2530, 431 South
Seventh Street, Minneapolis, MN 55415, for Defendant.


SUSAN RICHARD NELSON, United States Magistrate Judge

       This matter comes before the undersigned United States Magistrate Judge on Defendant’s

Motion to Suppress Statements, Admissions, and Answers (Doc. No. 569). The matter has been

referred to the undersigned for a Report and Recommendation pursuant to 28 U.S.C. § 636 and

District of Minnesota Local Rule 72.1(a). For the reasons stated below, this Court recommends

that the motion be denied as moot.

I.     FACTUAL AND PROCEDURAL BACKGROUND

       Defendant has been indicted for conspiracy to distribute and possess with intent to

distribute cocaine and cocaine base and on several counts of distribution of cocaine base. (Doc.

No. 1.) He now presents a single dispositive as well as numerous non-dispositive motions.1

II.    DISCUSSION

       Defendant filed a motion seeking to suppress any and all statements, admissions and


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            The Court will address Defendant’s non-dispositive motions in a separate Order.
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answers he made prior to, at the time of, or after his arrest. (Doc. No. 569.) The Government

submitted “that at this time there were no statements made by defendant” but that should any

come to its attention, it would immediately notify Defendant “so that proper review of those

statements can occur.” (Doc. No. 571.) Accordingly, the motion is presently moot.

III.   RECOMMENDATION

              Based on the foregoing, and all the files, records and proceedings herein, IT IS

HEREBY RECOMMENDED that:

       1.     Defendant’s motion to suppress (Doc. No. 569) be DENIED AS MOOT.



Dated: July 14, 2008

                                                      s/ Susan Richard Nelson

                                                    SUSAN RICHARD NELSON
                                                    United States Magistrate Judge


Under D. Minn. LR 72.2(b), any party may object to this Report and Recommendation by filing
with the Clerk of Court and serving all parties by July 29, 2008, a writing which specifically
identifies those portions of this Report to which objections are made and the basis of those
objections. Failure to comply with this procedure may operate as a forfeiture of the objecting
party’s right to seek review in the Court of Appeals. This Report and Recommendation does not
constitute an order or judgment of the District Court, and it is therefore not appealable to the
Court of Appeals.




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